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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                   )       Case No.: 1:06 CR 125-19
                                            )
       Plaintiff                            )       JUDGE SOLOMON OLIVER, JR.
                                            )
       v.                                   )
                                            )       ORDER ACCEPTING PLEA

ELIDIA HERNANDEZ,                           )       AGREEMENT, JUDGMENT AND
                                            )       REFERRAL TO U. S. PROBATION
       Defendant                            )       OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of Elidia

Hernandez, which was referred to the Magistrate Judge with the consent of the parties.

       On November 8, 2006, the government filed a one-count superseding information against

Defendant Elidia Hernandez, misprison of a felon, as defined in Title 18, United States Code,

Section 4 .

       On November 9, 2006, Defendant was arraigned before Magistrate Judge Nancy

Vecchiarelli and pled guilty to count 1. On November 9, 2006, Magistrate Judge Nancy A.

Vecchiarelli filed her Report and Recommendation (“R&R”) concerning whether the plea should
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be accepted and a finding of guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Hernandez is found to be competent to enter a plea and to understand her constitutional rights.

She is aware of the charges and of the consequences of entering a plea. There is an adequate

factual basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Hernandez is adjudged guilty of Counts One in violation of

Title 18 Section 4.

       IT IS SO ORDERED.



                                               /s/SOLOMON OLIVER, JR.
                                               UNITED STATES DISTRICT JUDGE
